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 UNITED STA TES DISTRICT CdURT
 SOUTHERN DISTRICT OF NEW YORK
------------------------------------                x


ROD WHEELER,

                                  P~intiff,
       -against-
                                                                • 17 Civ. 05807 (GBD)
TWENTY-FIRST CENTURY FOX, JNC.; FOX
NEWS NETWORK LLC; MALIA                                                                       ~;



ZIMMERMAN, in her individual and
professional capacity; ED BUTOWSKY, in his
individual and professional capacity,

                                  Defendants.
---------------------------------------- x

 GEORGE B. DANIELS, United States District Judge:

        Plaintiffs request for an extension of time to oppose     efendants' motions to dismiss

 Plaintiffs Amended Complaint is GRANTED. Plaintiffs opp sitions to both motions are due

 January 9, 2018. Any replies are due on January 26, 2018.

 Dated: New York, New York
        December 8, 2017
